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EXHIBIT F

caQABJV¢A@H¢LK<ELhEXUMRG,GC@MS €LQM&

Vocational and Rehabi/itation Consultant

August 7, 2013

Anthony Rossmil|er
Diepenbrock & Cotter, LLP

1545 River Park Drive, Suite 201
Sacramento, CA 95815

RE: Sepe v. Gordon Trucking, |nc. et a|.
United States District Court`, Eastern District of California
Case No.: 2:12-CV-01639-KJM-GGH

Vocational Rehabi|itation Eva|uation of Robert A_nthony Sege, Jr.

ASS|GNMENT

This evaluation focuses on the employment and earning potential of Robert
Sepe, Jr. following the motor vehicle accident of September 13, 2010. The
assessment addresses issues related to wage loss, past and future. Concluding
opinion will outline the timeframe and occupational options for Mr. Sepe’s
employment in the labor market. identification of appropriate vocational goals
was completed with consideration of employability factors to include physical
demands, tasks and skills required, and opportunity for securing employment in
the Sacramento Area, where Mr. Sepe resides. A|| information gathered
regarding medical, education and vocational background was accomplished
through review of the records provided. | have not personally interviewed Robert
Sepe Jr. Resources utilized in this assessment process will be identified. This
report provides the summary information of the assessment process, foundation,
and opinions that will be expressed at tria|.

PROCESS OF ASSESSMENT ~

o Review of case documents provided

o identification of ‘Worker Profi|e'

o Consideration of information and opinion regarding the medical status and
restrictions/abilities

o Review of appropriate vocational resource information related to
geographic area, occupational requirements and labor market

1300 Clay Street ' Suite 600 ° Oakland, CA 94612 ' Fax: 209-626-5419 ' Tel: 510-466-6337
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identification of (sampie) occupational goals within the vocational
rehabilitation hierarchy

Deveiopment of vocational plans

Gathering of job and wage information

Conciusion / opinions

DOCUMENTS PROV|DED FOR REV|EW

The listed documents were provided for review and are foundation for opinions:

Deposition transcript of Robert Anthony Sepe, Jr. - February 21, 2013
Exhibits 1 - 18

Piaintiff’s Responses & Production of Documents, Set One
Philip Orisek, i\/iD - records x2

Defendants Gordon Trucking, inc. and Eiwood Hiii’s Ruie 26 Reports and
Expert Witness List - dated June 17, 2013

Bruce iVi. McCormack, MD - ii\/|E report of i\/iay 15, 2013
Jerome Barakos, MD - report of June 14, 2013

Tami Rockhoit, RN, BSN - report of February 18, 2013
Laurence Neuman, PE - report of June 13, 2013

Exodus Designs & Surfaces - records

Biock Tops, |nc. - records

Piaintiff’s Responses to interrogatories, Set No. One
Radioiogica| Associates of Sacramento / Radioiogy - records
Radio|ogica| Associates of Sacramento - records x2

Aiivio iViedicai Group /Business Office - records x4

Aian M. Hirahara, MD - records

Sutter Memoria| Hospitai - records

Caiifornia Highway Patroi - records

Knott’s Leader Pharmacy - records

Kim’s Leader Pharmacy - records

Kaiser Hospitai and Pi\/iB / Livermore - records

Kaiser Hospitai/PMG North Va|iey - records x2

Sacramento Orthopedic Center/Bil|ing Department - records x2
Sacramento Orthopedic Center - records x2

Campus Commons PT/Business Office - records x3
Campus Commons Physicai Therapy - records x2

Sutter Centrai Bil|ing - records x2

Mercy Hea|thcare Bil|ing - records

Rush Bil|ing - records

A||med |\/|edicai Center - records x2

A||med Medicai Center/ Business Oche - records

Discovery Diagnostics i\/iedicai Group, inc.

Aiemad, inc. - records

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Sutter Generai Hospitai - records

UC Davis Medicai Center - records

County of Sacramento Medicai indigent Servioes Program - records
Diagnostic Patho|ogy Medicai Group - records

Precision Medicai Group - records

Active Diagnostics, inc. - records

Centrai Anesthesia Service Exchange - records

Timber|ake Respiratory Care & Home Medicai Equipment - records
Woodiand i\/iemoriai Hospitai - records

Wa|ter John Crawford, PT - records

Piacer Surgery Group - records

Progressive Casuaity insurance - records

Medfin - records

University Medicai imaging - records

Center for interventionai Spine - records x2

Bruce iVi. i\/icCormack, |V|D - Supp|ementai iME report of June 10, 2013
Robert Mistretta, CPA, MBA - Report of Juiy 10, 2013

Robert Mistretta, CPA, MBA - Deposition transcript, Juiy 24, 2013 (exhibits)
Gregory Se|is - Reports of June 4, 2013 and June 21, 2013
Gregory Se|is - Deposition transcript of Juiy 24,2013 (with exhibits)
2004 Tax Return filed by Mr. Sepe

2005 Earnings Statements from Genesis Tiie Corp

2006 Earnings Statements from Genesis Tiie Corp

2006 W-2 from Design Seiect Precision Stone Works

2006 pay stubs (2) from Design Seiect Precision Stone Works

ADD|TIONAL RESOURCES UT|L|ZED FOR ASSESSMENT

Occupationai information Network O*NET

Dictionarv of Occupationai Tities (US Department of Labor)

Revised Handbook for Ana|vzing Jobs (RHAJ)

§greau of Labor Statistics, US Department of Labor, Occupationai Outiook
Handbook, 2012-13

State of Caiifornia, Empioyment Deveiopment Department -Training
Program information

State of Caiifornia, Empioyment Deveiopment Department - Labor Market
info - Projections of Empioyment by Occupation; Labor Market
information Division

Schoois/training facilities regarding GED prep and test, and short term training
Economic Research institute, Saiary Assessor, Wage & Saiary Survey
(Saoramento CA)

Empioyment Search Sites (i.eSimpiyhired.com; USjobs; Jobsoniine.net;
Job.com; Job-hunt.org; CareerBuiider.com)

Job Accommodation Network

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o Teiephone conversation with Bruce McCormack, MD - Juiy 31, 2013

OVE RV|EW

Robert Sepe Jr. is thirty-eight years old and presently resides in Sacramento
Caiifornia. Mr. Sepe has never been married and has no children. He lives with a
roommate. Mr. Sepe reports that he has not served in the military and has never
been convicted of a feiony. Mr. Sepe is right-handed.

Educationai records were not available for review. information gathered from
other sources, including Mr. Sepe’s deposition testimony, revealed that Mr. Sepe
did not finish his high school education. He reports attending high school
through the 11th grade and then transferred to a continuation school for his 12th-
grade year. He did not finish his independent study at the continuation school
and dropped out, or was forced out of the schooi; he does not remember the
detaiis. Mr. Sepe never returned to high school to complete his senior year. He
has not pursued a GED (Generai Educationai Deveiopment) and has not
attended any other schooling. His primary avocationai interests before the
accident of September 13, 2010, were skateboarding, bike riding (BMX and
road), bike racing, camping, fishing and hiking. He has not returned to these
activities with the exception of taking short bike rides, occasionally going fishing
and taking brief waiks.

Empioyment for Robert Sepe Jr. began when he left high school his senior year
and went to work in warehouse positions. He reports that the warehouse jobs
were obtained through a temporary agency. He then worked for Roundtabie
Pizza for 1-2 years, working in various capacities that were not specifically
described but assumed to be entry-ievei. Foiiowing Roundtabie Pizza, Mr. Sepe
was employed for several years as a house painter with McCarthy Painting.
More detail on these employment positions was not availabie.

Mr. Sepe’s employment history eventually led him to work as an installer in the
countertop construction industry. He has described that he did solid surface
installation of Corian, laminate and granite on counters and tub surrounds. He
reported that his work sometimes involved being Head installer and that his
experience included supervising others with one empioyer. A detailed
chronology of his employers and earnings wiii not be repeated in this report but is
available in my work fiie. A summary of Mr. Sepe’s employment in the
countertop construction field included the following companies: We’re Tops
Countertops, Genesis Tiie Corp/_Ti|eco, Design and Seiect Precision Stonework,
and Aiamed/Exodus Design. Mr. Sepe also worked for a couple weeks in 2010
at Biock Tops but his position was terminated due to a failed drug test. He
reported that the drug test must have had a false/positive reading. Mr. Sepe’s
most recent employer at the time of the September 2010 |V|VA was
Aiamed/Exodus. Mr. Sepe was not actively working as an installer at the time of
the accident and was between jobs with the company. He told Gregory Se|is,

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piaintiff’s vocational rehabilitation consultant, that he was “off contract” during the
time of the accident and waiting to get called back to work. Wage records
indicate that over the years he was paid various rates for his work as an installer,
ranging from a low of $15 per hour and high of $23 per hour. Overtime rates
were time and haif. Mr. Sepe’s work history as an installer of solid surfaces was
not fluid. There were periods when he worked regularly but there were
significant periods of time where there is no documented income for weeks,
months and sometimes years. Mr. Sepe did not have a bank account during his
years of employment. He has stated that he loved his work as an installer and
had planned on remaining in this occupation. He has not returned to this work
since September 13, 2010.

The only additional paid work activity that Robert Sepe reports since September
13, 2010, was some cleaning of floors that he did for a friend. For this work he
earned a couple hundred of doiiars. Mr. Sepe received a lump sum check for a
State Disabiiity claim reported to have been received in December 2012 for
approximately $5000 or a little over that amount. He has applied for Social
Security Disabiiity but has not received these benefits, to my knowiedge. At the
time of his deposition in February of 2013, Mr. Sepe stated that he had been
receiving food stamps for the past two years. He has no income.

Review of medical documents provided indicates that Robert Sepe reported neck
pain, mid-back pain between shoulder biades, low back pain, left lower extremity
pain with numbness in left thigh, numbness and ting|ing in fingertips bilaterally,
numbness in right foot, ongoing neck and low back pain with associated
numbness in both lower extremities, and pain radiating into his lower extremities,
ali resulting from the motor vehicle accident on September 13, 2010. He first
sought treatment following the MVA on November 10, 2010, and has been in
treatment since that time. Mr. Sepe has had extensive diagnostic studies of the
cervicai, lumbar and thoracic spine, and left shoulder. He has attended physical
therapy and massage treatment, received pain medications, and underwent a
posterior spinal fusion with instrumentation at L4-5 in December 2011. His
primary physicians have been and continue to be Dr. Mark Diaz and Dr. Philip
Orisek, MD. Details of all medical file review are in my work file and will not be
repeated in this report. lt is noted that there is information in the medical file to
indicate that Mr. Sepe was previously treated for low back pain and complaints,
dating back to 2002.

PLAINT|FF’S PRESENT lNVOLVEMENT lN VOCAT|ONAL ACT|V|TY

Robert Sepe attended a vocational interview and testing assessment with Gregory
Sells. The interview took place on lViay 24, 2013, and the vocational testing was
conducted on l\/lay 31, 2013, A brief summary of his test scores is as follows:

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Gates-MacGinitie Reading Test
Vocabuiary: PHS (Post-High Schooi)
Reading Comprehension: 11.4 GE (Grade Equivalency)
Total Score for Reading: 12.9 grade PHS (Post-High Schooi)
Standard Progressive i\/iatrices - RAVEN (measures ability for logical
thinking and abstract reasoning - indicator of ‘abiiity to iearn’)
68th percentile for his age group
Mathematicai Subtest:
Was able to add whole numbers and correct w decimai points
Was not able to perform multiplication or division of whole numbers
Was inconsistent in subtraction and working with fractions
Wide Ranqe interest Obinion Test 2 (WR|OT)
Most scores were low re occupational interests
Highest response pattern: ‘Disiikes many jobs’ and ‘ciear and strong
likes and/or disiikes’
Areas ranked highest were Buiid/Repair, Heavy Equip Operator,
Factory/Assembiy

it is noted that no aptitude tests were administered to Mr. Sepe during the
vocational assessment. Additionaliy, no detail is provided regarding behavioral
observations during testing participation. in my opinion, the testing results
gathered are positive due to Mr. Sepe’s solid score on the Raven and his reading
achievement ievei. These two scores represent his ability to learn new
information, function in daily personal and work life regarding instructions and
communications, and assure that he could be expected to learn new skills in the
future. Certainiy the performance on the math test needs to be addressed as it
relates to GED preparation and future employment goais. Since Mr. Sepe did
complete the 11th grade of school it is assumed that his past math achievement
was greater than measured on May 31, 2013. it could be that he tested poorly in
this area because he is not using math skills in his daily life and needs to be re-
exposed to mathematic principles. it could be that this has always been a difficult
subject area for him. Since we do not have his school records, l do not know his
background performance in this subject. Mr. Sepe’s academic profile regarding
math ability can be addressed and vocational objectives selected for his future
that do not require advanced math concepts.

Mr. Sepe has not been involved in school or work activity since the date of the
MVA in September 2010. He has not attempted to prepare for or complete his
GED certificate. When asked about his vocational future Mr. Sepe indicated he
doesn’t see himself as physically able to work. He would like to return to work in
the countertop industry or woodworking occupations as he enjoys working with his
hands. Regarding the possibility of attending schooi, Mr. Sepe told Greg Se|is
that he is not confident of his academic skills and would prefer ‘hands-on’

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iearning. There has been nothing noted in the reports or deposition of Greg Se|is
to suggest a specific vocational goal or plan of any kind. it is Mr. Se|is testimony
that Mr. Sepe is not medically at a point to be able to determine his vocational
options. Mr. Se|is stated that he is “waiting on the medicai” before setting forth
any kind of plan for Mr. Sepe to get back to work. Mr. Se|is did not suggest to Mr.
Sepe that he attempt to get his GED, though in testimony Mr. Se|is acknowledges
that obtaining his GED would be “very helpful to him” to get employed in the
future. Mr. Se|is testified that he was not aware of on-|ine home study courses
available for GED.

STRENGTH FACTOR l PHYS|CAL DEMAN DS

For the purposes of my vocational rehabilitation assessment, consideration has
been given to ali of the medical records, reports and testimony made available to
me. A list of the medical information provided has been noted in this report and
will not be repeated in this section. The summary notes from my document
review are included in my work file and availabie, if requested. Consideration has
been given to Mr. Sepe’s subjective complaints and abilities as related to his left
shoulder weakness, neck and low back. There is disagreeing opinion regarding
the cause, extent of injury, and diagnoses of Mr. Sepe’s reported medical
problems after the MVA of September 13, 2010; this will be resolved through
litigation. However, there is agreement that Mr. Sepe should not return to his
work as an installer of solid surfaces given the heavy work required. Given this
assumption, physical demands were closely considered in the process of this
assessment.

A review of job tasks and essential functions was completed on those
occupations that l identified for Robert Sepe Jr. Ali vocational objectives
selected in this assessment are within the ‘Sedentary’ or ‘Light’ Category
regarding Physicai Demands. Specificaiiy, the following physical limitations were
used in selecting the feasible vocational goals that represent Mr. Sepe’s
employability following the September 13, 2010 accident:

o No lifting or carrying over 25 lbs

¢ No repetitive bending and stooping

o Proionged sitting and standing should offer opportunity for shift of
position approx 5 minutes each hour

These physical restrictions were provided by Dr. McCormack in a telephone
conversation on Juiy 31, 2013. Dr. McCormack also provided opinion that Mr.
Sepe could have started vocational activity nine-to-twelve months after his
lumbar surgery.

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D|SCUSS|ON l SUMMARY OP|N|ONS
The following Vocational Rehabiiitation Hierarchy was used in this assessment:

Return to work in usual job with same employer

Return to work in usual job with accommodation, same employer

Return to work in alternative job with new employer (direct job piacement)
Return to work following on-the-job or short-term skill building

Return to work following formal training

Robert Sepe Jr. will not be returning to his past work in the countertop
construction field as an installer of solid surfaces. Modified work for this position
might be found but would not be reiiabie. Based on this, the first two steps in the
Vocational Rehabiiitation Hierarchy were eiiminated.

Feasibie vocational options have been identified for Direct Job Piacement and Short-
Term Training. it is important to note that these options are based on Mr. Sepe’s
existing Worker Profiie. The Worker Profiie includes his education, employment
history, and transferable skills. The goals are also based on physical demands

and skills required, and job availability. Vocational goal descriptions, training
program details and wage reference materials are part of my work file.

The following are sample vocational plans for Mr. Sepe:

1) Direct Job Piacement
Sample job titles:
Order Fiiier (Sedentary) (Light)
Scheduier - i\/iateriais, Equipment (Sedentary)
Warehouse Cierk; Shipping/Receiving Cierk; Order Cierk (Light)

Estimated Saiary:
Year 1 starting earnings: range of $26,000. - $31,000. per year
Year 6 earnings: range of $36,000. - $44,000. per year

Estimated Return to Work: September 16, 2013
Assumes participation in vocational efforts could have started 12/15/2012.

2) Short-Term TraininglCost $15,000.00)

Sample job titles:
Dispatcher - Construction, Motor Vehicie (Sedentary)
Customer Service - Construction industry (Sedentary - Light)
Warehouse / inventory Controi Cierk (Light)
Security Guard (Light)

*Estimated Saiary:
Year 1 starting earnings: range of $31,000. - $36,000. per year
Year 6 earnings: range of $45,000. - $50,000. per year

Estimated Return to Work: i\/iarch 17, 2014

Assumes participation in vocational efforts could have started 12/15/2012.

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3) Short-Term Traininq (Cost $15,000.00)

Sample job titles:
Dispatcher - Construction, l\/iotor Vehicie (Sedentary)
Customer Service - Construction industry (Sedentary - Light)
Warehouse / inventory Contro| Cierk (Light)
Security Guard (Light)

*Estimated Saiary:
Year 1 starting earnings: range of $31,000. - $36,000. per year
Year 6 earnings: range of $45,000. - $50,000. per year

Estimated Return to Work: November 17, 2014

Assumes participation in vocational activity begins 8/15/2013.

*Wage information provided based on ‘Median’ wages from Economic Research
institute for Sacramento California.

CONCLUS|ON

Mr. Sepe could be involved presently with efforts to get his GED certificate and
this activity could have started many months ago. There are numerous
resources, many free of charge, that provide opportunity for Mr. Sepe to engage
in this pursuit. There are neighborhood GED prep programs offered through the
community adult school system. There are private school offerings, as weii.
These programs offer tutoring and administer the tests. involvement in these
programs is not full-time and most of the studying is done at home. There are
also on-iine GED courses as weil that include sample tests, tutoring, and ciasses.
Certainiy the on-iine classes require access to a computer. if Mr. Sepe does not
have access to a personal computer of his own or one that belongs to a friend or
family member, there are computers available for free at the public iibrary. There
is nothing noted in the medical file to indicate that Mr. Sepe is restricted from
attending such a class or pursuing his GED certificate. it is my opinion that he
should be directed to complete his GED immediately as this will enhance his
employability in the future in any occupation. Additionaliy, i do not think Mr. Sepe
is limited to hands-on training. There are short-term training programs that offer
settings that are both hands-on and academic in nature. Finaily, i am somewhat
perplexed by Mr. Selis’ testimony that he needs additional medical information
before proceeding with vocational recommendations as it is clear that Mr. Sepe
will not be returning to his past occupation. it is typical that vocational
rehabilitation counselors work with, and make plans for, individuals during and
after their medical treatment.

There are job titles noted in this report and others detailed in my case file. Aii
wage information was gathered through Economic Research institute and other
resources previously listed. Aii wage and job search completed was focused on
the Sacramento Caiifornia Area.

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l have enclosed a copy of my current Curricuium \/itae, Fee Scheduie, and a
record of testimony as a retained expert witness during the past four years. l
have no publications in the past ten years.

Shouid new information become available impacting conclusions expressed, a
revision of my opinions may be expected in a supplemental report.

Submitted by:

M%%%/~

Carla H. Keiiey, MRC, CRC, CDMS

Attachments:
Curricuium Vitae
Fee Schedu|e
List of Testimony

Case ZCZAQRJJMQHINFREKEEIHBY§QMRGQ QSR@,? UD®IB Of 14

1300 Clav Street, Suite 600 Oakland. CA 94612 (510) 466-6337
MAILHNG ADDRESS: 3144 N. G street - suite125-291 - Merced, cA 95340

QUALIFICATIONS

* Thirty-three years experience as a Vocational Rehabilitation Counselor and Consultant.

TWenty-eight years experience as Expert Witness on vocational feasibility & rehabilitation

* Case management to include disability and return-to-Work coordination, long-term
disability, Workers compensation pro grams, and private referral clients.

* Specialized training and experience evaluating individuals With Severe Disabilities,
including Traumatic Brain and Spinal Cord Injuries.

* AdVanced Training in Life Care Planning and Disability Management

* Experience With early intervention and program development for managing absenteeism
and medical issues impacting Work performance and Work return.

"" Agreed and Independcnt Vocational Evaluator.

:{~

PROFESSIONAL SERVICES
Employment, Rehabilitation, and Transferable Skills Assessment
Vocational Exploration, Counseling, and Plan Deveiopment
Disability Management
Job Analyses and Job Accommodation Assessment
Earning Potential Analyses
On-The-Job Training and Empioyment Deveiopment
Piacement Assistance

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EXPERIENCE
10/85 to Present Vocational Rehabilitation Counselor/Consultant - Private Practice
San Francisco/Oakland/Central Valley CA;United States

11/82 to 9/85 Rehabilitation Specialist

lnternational Rehabilitation Associates, Oakland, CA
3/80 to l 1/ 82 Vocational Rehabilitation Counselor

Bureau of Vocational Rehabilitation, Dayton, OH

EDUCATION

1982 - M.R.C. Masters in Rehabilitation Counseling

Wright State University, Dayton, OH
1980 - B.S. Vocational Rehabilitation Education

Wright State University, Dayton, OH

CERTIFICATIONS
CRC - Certiiied Rehabilitation Counselor #17626
CDMS - Certified Disability Management Specialist #00938
PROFESSIONAL MEMBERSHIPS

lARP International Association of Rehabilitation Professionals
NRA National Rehabilitation Association
NRCA National Rehabilitation Counseling Association

ACA American Counseling Association

Case £AR(LH§QHNKEIM¥NMR@§§@R@;MS of 14

 

Vocational and Rehabilitation Consu/tant

EXPERT WlTNESS FEE SCHEDULE

Professiona| - $240.00/hr.

(case review / appointments/ research)
Deposition - $400.00lhr
Trial - $400.00/hr.

Retainer - $2500.00

(Tax |D Number: XX-XXXXXXX)

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GAQABJ@%SHFLMLQEMMMRG®€§RS QDMOSM

Vocational and Rehabilitation Consultant

Expert Testimonv 2008 through Julv 2013

 

CASE COURT YEAR
Frausto v Abbate, Alia Corp CA Superior Court - Merced County (CV 000322) 2012 D
Wong v AAA Northern CA, Nevada & Utah - UVo. ARB- UIM) 2012 D
Clisura v Wong CA Superior' Court - Alameda County (RG-10-494572) 2012 DT
Pearce v Pun`fication Lionsgson CA Superior Court ~ San Francisco County (CGC] 0499984) 2011 DT
Meyers v BNSF CA Superior Court _ San Joaquin County (CV 0261 40) 2011 D
Cook v UPRR Second Judicial District Court Nevada, Washoe County 2011 DT
(CV09-02 724)
Gilrnore v UPRR US District Court Eastern District of California 2011 D
(2: 09-C V-02] 80-JAM-DAD)
Jackson v UPRR CA Superior Court - Placer County (SCV 24033) 2010 D
Schindler v UPRR CA Superior Court - County of Kern 2010 D
(S-]500-CV266480-SPC)
Weaver v. BNSF CA Superior Court _ County of Contra Costa (CO 7-00524) 2009 T
Delsid v BNSF CA Superior Court _ County of San Joaquin (CV0343 74) 2009 D
Hays v UPRR CA Superior Court _ County of Sacramento (34-2008-00013547) 2009 D
Weaver v. BNSF CA Superior Court - County of Contra Costa 2008 D
Sidhu v Flextronics State of Califor'nia - Industrial Commission 2008 D
Stevenson v BNSF CA Superior Court - County of San Joaquin 2008 D
Rossi v Toy’s Transportation CA Superior Court - County of Solano 2008 D
Mansour v Spears, et al CA Superior Court _ County of Contra Costa 2008 D
D: Deposition
T: Trial

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